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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


JOHN PAUL MAC ISAAC,

              Plaintiff/Counterclaim
              Defendant,                         C.A. No.: 1:23-cv-00247-MN

       v.                                        Hon. Maryellen Noreika

CABLE NEWS NETWORK, INC.,
ADAM BENNETT SCHIFF,
POLITICO LLC,                                    DEMAND FOR JURY TRIAL OF 12
ROBERT HUNTER BIDEN, AND
BFPCC, INC.,

              Defendants/Counterclaim
              Plaintiff Biden.


      DEFENDANT/COUNTERCLAIM PLAINTIFF ROBERT HUNTER BIDEN’S
        ANSWER, AFFIRMATIVE DEFENSES AND COUNTERCLAIMS TO
               PLAINTIFF’S FIRST AMENDED COMPLAINT

       Defendant/Counterclaim Plaintiff Robert Hunter Biden (“Mr. Biden” or “Defendant” or

“Counterclaim Plaintiff”), by and through his undersigned counsel, herein files his Answer,

Affirmative Defenses and Counterclaims to the First Amended Complaint, filed by

Plaintiff/Counterclaim Defendant John Paul Mac Isaac (“Plaintiff” or “Counterclaim Defendant”)

on January 20, 2023 (the “Complaint”) (DE 3, Ex. 52). All responses, affirmative defenses and

counterclaims herein are based on information known to Mr. Biden as of the date hereof, and Mr.

Biden reserves the right to supplement or amend his responses or assert any other defenses based

on new information revealed through discovery or other means as may be appropriate.

       With regard to the specific allegations in the Complaint, Mr. Biden responds as follows:
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                                             ANSWER

       1.      Paragraph 1 makes assertions for which an answer is not required. To the extent

paragraph 1 contains a statement of causes of action or damages, Mr. Biden denies the allegations.

       2.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 2.

       3.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 3.

       4.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 4.

       5.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 5.

       6.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 6.

       7.      Mr. Biden admits that he is currently a California resident, denies that he transacts

significant business in the State of Delaware, and admits that he has significant ties to the State of

Delaware.

       8.      With respect to any other Defendant, Mr. Biden is without knowledge sufficient to

admit or deny the allegations in paragraph 8. With respect to himself, Mr. Biden admits that there

is personal jurisdiction over him in Delaware.

       9.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 9.

       10.     Admitted.

       11.     Mr. Biden incorporates all his responses contained in paragraphs 1 – 11 [sic].




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       12.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 12 as to Plaintiff’s current residence.

       13.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 13.

       14.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 14.

       15.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 15.

       16.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 16.

       17.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 17.

       18.      Denied.

       19.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 19.

       20.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 20.

       21.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 21.

       22.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 22.

       23.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 23.




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       24.      Mr. Biden admits that he did not pay any invoice to a place called the Mac Shop

and is without knowledge sufficient to admit or deny the remaining allegations in paragraph 24.

       25.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 25. Mr. Biden is aware of Sections 4001 and 4003 of Title 25 of the Delaware Code

(Definition of abandoned personal property and Procedure to obtain title, respectively), which

indicate when personal property in the State of Delaware can be deemed to be abandoned (one

year) and the procedures a person must comply with to obtain title to abandoned personal property.

Plaintiff does not allege that he complied with the provisions of Section 4003 of Title 25.

       26.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 26.

       27.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 27.

       28.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 28.

       29.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 29.

       30.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 30.

       31.      Mr. Biden admits that Mr. George Mesires was his attorney. Mr. Biden is without

knowledge sufficient to admit or deny the remaining allegations in paragraph 31.

       32.      Mr. Biden admits that on October 14, 2020, the New York Post published an article

in which he and others, including Rudy Giuliani, Robert Costello, Steve Bannon, Devon Archer,

and George Mesires, were mentioned.




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       33.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 33.

       34.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 34.

       35.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 35.

       36.      Mr. Biden denies that Plaintiff “was not involved” in the disclosure of data to the

New York Post, denies that Plaintiff “did not promote” the disclosure, and is without knowledge

sufficient to admit or deny whether Plaintiff authorized the disclosure.

       37.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 37.

       38.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 38.

       39.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 39.

       40.      Mr. Biden admits that the New York Post article contained a photo of a repair

authorization form. Mr. Biden is without knowledge sufficient to admit or deny the remaining

allegations in paragraph 40.

       41.      Mr. Biden admits that on October 14, 2020, other media outlets wrote articles about

him. Mr. Biden is otherwise without knowledge sufficient to admit or deny the allegations in

paragraph 41.

       42.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 42.




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       43.      Mr. Biden admits that on October 19, 2020, a “Public Statement on the Hunter

Biden Emails,” signed by a number of former intelligence officials, was released and contained

certain statements concerning “a Russian information operation” and “evidence of Russian

involvement.” Mr. Biden is without knowledge sufficient to admit or deny the remaining

allegations in paragraph 43.

       44.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 44.

       45.      Mr. Biden admits that on October 19, 2020, Director of National Intelligence John

Ratcliffe appeared on Fox Business with Maria Bartiromo and made certain public statements.

       46.      Mr. Biden admits that on October 20, 2020, Ms. Jill C. Tyson, Assistant Director

of the FBI’s Office of Congressional Affairs, sent a letter to Senator Ron Johnson, Chairman of

the Senate Committee on Homeland Security and Governmental Affairs, making certain public

statements.

       47.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 47.

       48.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 48.

       49.      Mr. Biden denies that any Politico story confirmed the validity of the New York

Post exposé.

       50.      Mr. Biden denies that any New York Times story confirmed the validity of the New

York Post exposé.

       51.      Mr. Biden denies that any Washington Post story confirmed the validity of the New

York Post exposé.




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       52.      Mr. Biden incorporates all his responses contained in paragraphs 1 – 52 [sic].

       53.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 53.

       54.      Mr. Biden is without information sufficient to admit that Plaintiff possessed any

particular laptop and is without knowledge sufficient to admit or deny the remaining allegations

in paragraph 54.

       55.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 55.

       56.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 56.

       57.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 57.

       58.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 58.

       59.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 59.

       60.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 60.

       61.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 61.

       62.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 62.




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       63.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 63.

       64.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 64.

       65.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 65.

       66.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 66.

       67.      Denied.

       68.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 68.

       69.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 69.

       70.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 70.

       71.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 71.

       72.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 72.

       73.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 73.

       74.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 74.




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       75.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 75.

       76.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 76.

       77.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 77.

       78.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 78.

       79.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 79.

       80.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 80.

       81.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 81.

       82.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 82.

       83.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 83.

       84.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 84.

       85.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 85.




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       86.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 86.

       87.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 87.

       88.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 88.

       89.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 89.

       90.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 90.

       91.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 91.

       92.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 92.

       93.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 93.

       94.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 94.

       95.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 95.

       96.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 96.




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       97.       Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 97.

       98.       Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 98.

       Prayer for Relief: No response from Mr. Biden is required.

       99.       Mr. Biden incorporates all his responses contained in paragraphs 1 – 99 [sic].

       100.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 100.

       101.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 101.

       102.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 102.

       103.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 103.

       104.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 104.

       105.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 105.

       106.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 106.

       107.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 107.




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       108.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 108.

       109.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 109.

       110.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 110.

       111.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 111.

       112.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 112.

       113.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 113.

       114.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 114.

       115.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 115.

       116.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 116.

       117.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 117.

       118.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 118.




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       119.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 119.

       120.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 120.

       121.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 121.

       122.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 122.

       123.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 123.

       124.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 124.

       125.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 125.

       Prayer for Relief: No response from Mr. Biden is required.

       126.      Mr. Biden incorporates all his responses contained in paragraphs 1 – 126 (not just

paragraphs 1 – 52, as stated in the Complaint).

       127.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 127.

       128.      Mr. Biden admits that on October 19, 2020, Politico published an article, “Hunter

Biden story is Russian disinfo, dozens of former intel officials say.”




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       129.      Mr. Biden admits that the October 19, 2020 Politico article discussed the “Public

Statement on the Hunter Biden Emails” signed by former intelligence officials, and he is otherwise

without knowledge sufficient to admit or deny the allegations in paragraph 129.

       130.      Mr. Biden avers that the headline of the October 19, 2020 article referred to in

paragraph 130 speaks for itself and no further response is required.

       131.      Mr. Biden admits that the October 19, 2020 Politico article referenced a Mac shop

owner in Delaware.

       132.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 132.

       133.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 133.

       134.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 134.

       135.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 135.

       136.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 136.

       137.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 137.

       138.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 138.

       139.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 139.




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       140.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 140.

       141.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 141.

       142.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 142.

       143.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 143.

       144.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 144.

       145.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 145.

       146.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 146.

       147.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 147.

       148.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 148.

       149.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 149.

       Prayer for Relief: No response from Mr. Biden is required.

       150.      Mr. Biden incorporates all his responses contained in paragraphs 1 – 150 (not just

paragraphs 1 – 52, as stated in the Complaint).




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       151.      Mr. Biden admits that BFPCC stands for “Biden for President Campaign

Committee” and that it was a campaign organization formed for the Presidential campaign of

candidate Joseph R. Biden, Jr., and he is without knowledge sufficient to admit or deny the

remaining allegations in paragraph 151.

       152.      Admitted.

       153.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 153.

       154.      Mr. Biden admits that Symone D. Sanders appeared in an interview on MSNBC’s

“All In with Chris Hayes” and made certain public statements. Mr. Biden is without knowledge

sufficient to admit or deny the remaining allegations in paragraph 154.

       155.      Mr. Biden admits that Biden Deputy Campaign Manager Kate Bedingfield held a

call with reporters and made certain public statements. Mr. Biden is without knowledge sufficient

to admit or deny the remaining allegations in paragraph 155.

       156.      Mr. Biden admits that candidate Joseph R. Biden, Jr. made a campaign statement

referring to national intelligence officials. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 156.

       157.      Mr. Biden admits that Joseph R. Biden, Jr. appeared in a campaign interview and

made certain public statements. Mr. Biden is without knowledge sufficient to admit or deny the

remaining allegations in paragraph 157.

       158.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 158.

       159.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 159.




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        160.     Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 160.

        161.     Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 161.

        162.     Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 162.

        163.     Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 163.

        164.     Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 164.

        165.     Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 165.

        Prayer for Relief: No response from Mr. Biden is required.

        166.     Mr. Biden incorporates all his responses contained in paragraphs 1 – 166 (not just

paragraphs 1 – 52, as stated in the Complaint).

        167.     Admitted.

        168.     Admitted.

        169.     Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 169.

        170.     Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 170.

        171.     Mr. Biden admits that, if he ever had visited before, he did not return to Plaintiff’s

shop.




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       172.      Admitted and Mr. Biden further answers that the statement makes no mention of or

even a reference to Plaintiff.

       173.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 173.

       174.      Mr. Biden admits that Mr. Mesires was his attorney. Mr. Biden is without

knowledge sufficient to admit or deny the remaining allegations in paragraph 174.

       175.      Denied.

       176.      Denied.

       177.      Denied.

       178.      Denied.

       179.      Denied.

       180.      Denied.

       181.      Denied.

       182.      Denied.

       Prayer for Relief: Mr. Biden denies that Plaintiff has made out a cause of action against

him or has any valid claim for damages from him.

       183.      Mr. Biden incorporates all his responses contained in paragraphs 1 – 183 [sic].

       184.      Mr. Biden admits that he supported his father’s candidacy for President of the

United States in the 2020 election and is without knowledge sufficient to admit or deny the

remaining allegations in paragraph 184 as to any other Defendant.

       185.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 185.




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       186.      Denied as to Mr. Biden. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 186 as to any other Defendant.

       187.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 187.

       188.      Denied as to Mr. Biden. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 188 as to any other Defendant.

       189.      Denied as to Mr. Biden. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 189 as to any other Defendant.

       190.      Denied as to Mr. Biden. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 190 as to any other Defendant.

       191.      Denied as to Mr. Biden. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 191 as to any other Defendant.

       192.      Denied as to Mr. Biden. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 192 as to any other Defendant.

       193.      Denied as to Mr. Biden. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 193 as to any other Defendant.

       194.      Denied as to Mr. Biden. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 194 as to any other Defendant.

       195.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 195.

       Prayer for Relief: Mr. Biden denies that Plaintiff has made out a cause of action against

him or has any valid claim for damages from him.




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       196.      Mr. Biden incorporates all his responses contained in paragraphs 1 – 196 (not just

paragraphs 1 – 183, as stated in the Complaint).

       197.      Mr. Biden admits that he supported his father’s candidacy for President of the

United States in the 2020 election, and is without knowledge sufficient to admit or deny the

remaining allegations in paragraph 197 as to any other Defendant.

       198.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 198.

       199.      Denied as to Mr. Biden. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 199 as to any other Defendant.

       200.      Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 200.

       201.      Denied as to Mr. Biden. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 201 as to any other Defendant.

       202.      Denied as to Mr. Biden. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 202 as to any other Defendant.

       203.      Denied as to Mr. Biden. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 203 as to any other Defendant.

       204.      Denied as to Mr. Biden. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 204 as to any other Defendant.

       205.      Denied as to Mr. Biden. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 205 as to any other Defendant.

       206.      Denied as to Mr. Biden. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 206 as to any other Defendant.




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        207.     Denied as to Mr. Biden. Mr. Biden is without knowledge sufficient to admit or

deny the remaining allegations in paragraph 207 as to any other Defendant.

        208.     Mr. Biden is without knowledge sufficient to admit or deny the allegations in

paragraph 208.

        Prayer for Relief: Mr. Biden denies that Plaintiff has made out a cause of action against

him or has any valid claim for damages from him.

        Demand for Jury Trial: Mr. Biden also seeks a trial by jury by 12.

                                       AFFIRMATIVE DEFENSES

        1.       Plaintiff’s Complaint fails to state a claim against Mr. Biden upon which relief may

be granted. Among other reasons, the statements the Complaint alleges to be made by Mr. Biden

do not mention Plaintiff or refer to him in any fashion, and do not amount to statements recognized

as defamation, and the Complaint has not made out proper claims for conspiracy or aiding and

abetting by Mr. Biden.

       2.        Any actions alleged to have been taken by Mr. Biden did not cause Plaintiff any

damages upon which relief may be granted.

       3.        Plaintiff’s claims are barred due to prior breach by Plaintiff. Among other reasons,

Plaintiff has not established that he took all necessary steps to “secure the data” as required by the

Repair Authorization agreement that he claims gave him the right to access the data in his

possession in the first place.

        WHEREFORE, Defendant/Counterclaim Plaintiff Robert Hunter Biden respectfully

requests (a) judgment in his favor dismissing each of Plaintiff’s causes of action alleged in the

Complaint against him; (b) reimbursement of all his legal expenses, including attorneys’ fees,




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incurred by him in connection with this action; and (c) whatever other relief the Court deems just

and equitable.

                                           COUNTERCLAIMS

                                            INTRODUCTION

       By and through his undersigned counsel, Defendant/Counterclaim Plaintiff Robert Hunter

Biden (“Mr. Biden”) brings the following counterclaims against Plaintiff/Counterclaim Defendant

John Paul Mac Isaac. In support thereof, Mr. Biden states upon direct knowledge as to his own

actions and upon information and belief as to the conduct of others involved, as follows:

                                             PARTIES

       1.        Defendant and Counterclaim Plaintiff Robert Hunter Biden is a resident of

California, and has significant ties to the State of Delaware.

       2.        Plaintiff and Counterclaim Defendant John Paul Mac Isaac is an individual over the

age of 18 who is sui juris and resides in Wilmington, Delaware. (Compl. ¶ 2).

                                 JURISDICTION AND VENUE

       3.        Plaintiff and Counterclaim Defendant John Paul Mac Isaac consented to

jurisdiction and venue in the Superior Court of the State of Delaware by initially filing this action

in that court on October 17, 2022. (Compl. ¶ 10).

       4.        On March 7, 2023, the United States (which moved to substitute itself as Defendant

for Representative Adam Schiff) removed this action from the Delaware Superior Court to this

Court pursuant to the Westfall Act, 28 U.S.C. § 2679(d)(2).




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                                  FACTUAL BACKGROUND

         Possession of Electronic Data that Mac Isaac Claims to Be Hunter Biden’s

       5.      In or before April 2019, Counterclaim Defendant Mac Isaac, by whatever means,

came into possession of certain electronically stored data, at least some of which belonged to

Counterclaim Plaintiff Biden. 1

       6.      Mac Isaac claims that he obtained lawful possession of the data because it was

contained on a laptop that Mr. Biden left behind at Mac Isaac’s repair shop (the Mac Shop) and

that a Repair Authorization form, allegedly signed by Mr. Biden, provided that “[e]quipment left

with the Mac Shop after 90 days of notification of completed service will be treated as abandoned

and you agree to hold the Mac Shop harmless for any damage or loss of property.” (Compl. ¶ 25).

Mac Isaac further claims that because Mr. Biden never returned to the repair shop to retrieve his

recovered data, Mac Isaac is thereby the rightful owner to the equipment under the terms of the

Repair Authorization form. (Id. ¶ 24).

       7.      The boilerplate terms of the Repair Authorization form used by Mac Isaac were

contained in small-print font at the bottom of the page, well below the signature line. (Compl. Ex.

A).

       8.      Contrary to Mac Isaac’s Repair Authorization form, Delaware law provides that

tangible personal property is deemed abandoned when “the rightful owner has left in the care or

custody of another person and has failed to maintain, pay for the storage of, exercise dominion or

control over, and has failed to otherwise assert or declare the ownership rights to the [] property



1
  This is not an admission by Mr. Biden that Mac Isaac (or others) in fact possessed any particular
laptop containing electronically stored data belonging to Mr. Biden. Rather, Mr. Biden simply
acknowledges that at some point, Mac Isaac obtained electronically stored data, some of which
belonged to Mr. Biden.


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for a period of 1 year.” (25 Del. C. § 4001) (emphasis added). The procedure to obtain lawful

title to abandoned personal property requires the person in possession of the property to file a

petition in a court of competent jurisdiction. (25 Del. C. § 4003). Other obligations must then

also be satisfied before obtaining lawful title, such as the court sending notice to the owner and the

petitioner posting notice in five or more public places, and advertising the petition in a newspaper.

(25 Del. C. § 4003(b)).

       9.      Even if a customer of Mac Isaac’s were to sign the Repair Authorization form, such

a signature would be unenforceable under Delaware law as a typical small-print adhesion clause

for which there was no proper notice or opportunity to bargain or negotiate.

       10.     And contrary to Mac Isaac’s claim that property left in his shop is abandoned

property after 90 days, he admits in his recently published book and in other media appearances

that he actually began accessing what he claims he had in his possession as Mr. Biden’s data long

before 90 days had expired from when he claims any property or data was left in his shop (as early

as April 13, 2019). (JOHN PAUL MAC ISAAC, AMERICAN INJUSTICE: MY BATTLE TO EXPOSE THE

TRUTH 15–16, 34 (Post Hill Press 2022) (e-book)).

       11.     Mac Isaac readily admits that, however he came into possession of such material,

his intrusion included viewing and accessing sensitive, private material. From whatever the

source, the material he then provided to others included photos of Mr. Biden using drugs, without

clothes, and involved in intimate relations with other adults. In fact, Mac Isaac admits that while

reviewing the data he possessed, he accessed material that made him “uncomfortable.” (Id. at 46).

He also admits that the data he came into possession of, and the files he directly accessed, were

“none of [his] business.” (Id. at 15).




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       12.     Moreover, even if the Repair Authorization form were enforceable under Delaware

law, by its own terms, it provides abandonment of only any “equipment” that is left behind at the

Mac Shop, and not the data on or embedded within any such equipment. In fact, the Repair

Authorization form states that the Mac Shop will make every effort to “secure your data.” (Compl.

Ex. A). Customers who sign Mac Isaac’s Repair Authorization form do not, therefore, waive any

rights under Delaware law for the data that any equipment might contain. Reputable computer

companies and repair people routinely delete personal data contained on devices that are

exchanged, left behind, or abandoned. They do not open, copy, and then provide that data to

others, as Mac Isaac did here.

       13.     At no time did Mr. Biden grant Mac Isaac any permission to access, review, copy,

or disseminate for his own purposes any electronically stored data that ever was created or received

or maintained by Mr. Biden (regardless of how Mac Isaac came into possession of such material).

                      Copying and Distribution of Personal Data by Mac Isaac

       14.     Not content with possessing and accessing the data without permission to do so,

Mac Isaac admits that he copied the data without Mr. Biden’s consent, and distributed copies of

the personal data (in whole or in part) to various people, also without Mr. Biden’s consent.

       15.     Mac Isaac has stated that he opposed Joseph R. Biden, Jr.’s candidacy for President

in 2020, supported then-President Donald Trump, and that he took his actions to harm President

Biden and his family and to assist then-President Trump. (J.P. MAC ISAAC, AMERICAN INJUSTICE

37, 45, 70, 96 (e-book)). Among the actions that Mac Isaac took was providing data in his

possession to political enemies of Joseph Biden. Mac Isaac intended and knew, or clearly should

have known, that people to whom he provided the data that he believed to belong to Mr. Biden

would use it against then-candidate Joseph Biden and to assist then-President Trump.




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       16.        Mac Isaac admits that he also worked with an individual named Yaacov Apelbaum

to create a “forensic image” of the data in Mac Isaac’s possession. Apelbaum (founder and CEO

of XRVision Ltd., a technology firm specializing in video analytics and facial recognition

software) came to Mac Isaac’s home in Delaware, reviewed the data, and assisted Mac Isaac in

creating some sort of forensic copy. (Id. at 83, 85–86).

       17.        It is unclear exactly how many digital copies or forensic images Mac Isaac made of

the data in his possession but based on the number of copies distributed by Mac Isaac, it was likely

several copies.

       18.        Mac Isaac admits that in July 2019, he made a “clone” of the data that he then

loaded onto a MacBook of his own. (Id. at 11, 24). It is likely that Mac Isaac still possesses this

unauthorized copy.

       19.        Mac Isaac admits that he called his father and told him “what [he’d] initially seen”

in the data. (Id. at 34). Then, in or around September 2019, Mac Isaac sent a hard drive containing

the data from Wilmington, Delaware to his father, Richard Mac Isaac, in Albuquerque, New

Mexico, inside a stuffed animal, which his father agreed to hold for safekeeping. (Id. at 34, 36).

It is likely that Mac Isaac’s father Richard still possesses this unauthorized copy.

       20.        That same month, Mac Isaac composed a letter to send to President Trump’s

attorney and supporter, Rudy Giuliani, and planned to make a flash drive from the data in his

possession consisting of key documents summarizing information that he believed would help

prevent President Trump’s impeachment. (Id. at 37–39). It is not yet known what Mac Isaac did

with those materials.

       21.        In November 2019, Mac Isaac printed out materials from the data he maintained to

assist then-President Trump to defend against the impeachment proceedings in the U.S. House of




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Representatives. (Id. at 45). It is not yet known to whom Mac Isaac sent this unauthorized copy

of data or whether Mac Isaac still possesses this unauthorized copy.

       22.     Mac Isaac admits that he gave another copy of the data in his possession (either

electronic or printed) to his uncle, Ronald J. Scott, Jr., who in May 2020 was sending at least

summaries of the data he received from his nephew to journalists and Republican members of

Congress. (Id. at 55, 57, 65). It is not yet known what materials Mac Isaac’s uncle sent to whom,

and it is likely Mac Isaac’s uncle still possesses this unauthorized copy he received.

       23.     Hoping to share Mr. Biden’s data with Tucker Carlson of Fox News, Mac Isaac

admits that he, his father, and his uncle Ron “all agreed to have [his] uncle reach out and share

with Ken [LaCorte] some of the files and the basic timeline of events.” (Id. at 70). Mr. LaCorte

was a former Fox News executive and a friend of Mac Isaac’s uncle. It is not yet known what data

Mac Isaac and his father and uncle shared with Mr. LaCorte.

       24.     On August 27, 2020, Mac Isaac made contact with Rudy Giuliani’s lawyer, Robert

Costello, regarding the data in his possession. (Andrew Rice & Olivia Nuzzi, The Sordid Saga of

Hunter Biden’s Laptop, N.Y. MAG. (Sept. 12, 2022), https://nymag.com/intelligencer/article/

hunter-biden-laptop-investigation.html (reporting that Mac Isaac sent an electronic message to the

Giuliani Partners website on August 27, 2020, to which Mr. Costello replied that he and Mr.

Giuliani were “in position to get the information to the right places, provided the information is

accurate and was obtained lawfully.”)). That same day, Mr. Costello reached out to Mac Isaac via

e-mail, touting his and Mr. Giuliani’s ability “to get the information to the right places[.]” (Geoff

Earle, EXCLUSIVE: Rudy Giuliani lawyer’s 2020 letter reveals effort to establish he got Hunter’s

laptop LAWFULLY, DAILY MAIL (Feb. 3, 2023), https://www.dailymail.co.uk/news/article-

11710301/Rudys-lawyer-told-man-got-Hunters-laptop-info-right-places.html).




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         25.   Later that day, Mr. Costello called Mac Isaac and they “agreed [Mac Isaac] would

FedEx the drive to him [Mr. Costello] the next day.” (J.P. MAC ISAAC, AMERICAN INJUSTICE 63

(e-book)). Mr. Costello told Mac Isaac that Counterclaim Defendant was an “honest guy” and a

“good guy” for what he was doing, and Mac Isaac offered to buy Mr. Giuliani “his favorite bottle

of scotch” after “this whole ordeal is over.” (Id. at 64).

         26.   The following day, on August 28, 2020, Mac Isaac sent another copy of the data in

his possession to the home of Mr. Costello in New York. (Andrew Rice & Olivia Nuzzi, The

Sordid Saga of Hunter Biden’s Laptop, N.Y. MAG. (Sept. 12, 2022); Dan Friedman, Exclusive:

Leaked messages reveal the origins of the most vile Hunter Biden smear, MOTHER JONES (Apr. 7,

2022),          https://www.motherjones.com/politics/2022/04/hunter-biden-laptop-guo-wengui-

bannongiuliani/). Knowing that the data would ultimately reach Mr. Giuliani, Mac Isaac admits:

“I dropped the drive off at FedEx the next morning on my walk to work. It was done. The drive

was on its way to the lawyer of the president.” (J.P. MAC ISAAC, AMERICAN INJUSTICE 64 (e-book)).

         27.   After receiving the drive the next day, Mr. Costello called Mac Isaac, who then

provided Mr. Costello with “instructions on how to safely access it and avoid connecting it to the

internet. [Mr. Costello] was speechless for a few minutes as he verified the contents.” (Id.).

         28.   Mr. Costello has admitted that he almost immediately booted up the hard drive sent

to him by Mac Isaac and accessed the material, including sensitive financial information and

personal photos, without permission to do so from the owner of that material, admitting that “[y]ou

feel like a voyeur.” (Andrew Rice & Olivia Nuzzi, The Sordid Saga of Hunter Biden’s Laptop,

N.Y. MAG. (Sept. 12, 2022)). Mr. Costello, who shared the data Mac Isaac had sent him with Mr.

Giuliani and also with a reporter from the New York Post (Emma-Jo Morris), later told Mac Isaac

in advance of a 2020 presidential debate, “‘Rudy is briefing him [President Trump] on it right now




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. . . Don’t worry, you’re still only known as ‘Bob’s guy.’’” (J.P. MAC ISAAC, AMERICAN INJUSTICE

70 (e-book)). It is likely that Mr. Costello still possesses this unauthorized copy.

       29.     Beyond reviewing sensitive financial information and personal photos belonging to

Mr. Biden, Mr. Costello even opened files to look at pictures of Beau Biden’s final days.

       30.     Their work together did not end there, though. Mr. Costello later asked Mac Isaac

and Mac Isaac “agreed” to help provide Mr. Costello with other information that could be used

against President Biden’s campaign or to assist then-President Trump. (Id. at 65). Mac Isaac

admits, the following week, that he “assisted Bob [Costello] in making bootable copies of the drive

so other people [Mr. Costello] was working with could have access.” (Id.). It is not yet known

who the “other people” were and what unauthorized data was sent to them. It is likely that these

“other people” still possess this unauthorized data.

       31.     Then, on September 24, 2020, Mac Isaac informed Senator Ron Johnson’s staff that

he had possession of data that he claimed came from a laptop left at his business by Mr. Biden.

(See Letter from Sen. Ron Johnson, Chairman Comm. on Homeland Sec. & Governmental Aff.,

to DOJ Inspector General Michael E. Horowitz at 1 (Oct. 21, 2020), available at

https://www.ronjohnson.senate.gov/services/files/7CD44E16-BF0B-495E-8B87-900467F69E50

(“On September 24, 2020, the day after Chairman Grassley and I released the majority staff report

[about Hunter Biden and Burisma], . . . a whistleblower contacted the committee and informed

staff that he had possession of a laptop left in his business by Hunter Biden.”)).

       32.     Armed with the data Mac Isaac provided to Mr. Costello, Mr. Giuliani then

distributed a copy of the data to Steve Bannon, who on September 28, 2020, claimed to possess a

copy of the data. (Rachel Olding, Steve Bannon Boasted on Dutch TV Weeks Ago That He Had

Hunter Biden’s Hard Drive, DAILY BEAST (Oct. 15, 2020), https://www.thedailybeast.com/steve-




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bannon-boasted-on-dutch-tv-weeks-ago-that-he-had-hunter-bidens-hard-drive). It is likely that

Mr. Giuliani and Mr. Bannon still possess these unauthorized copies.

       33.     From there, Mr. Bannon appears to have given at least some of the data to Guo

Wengui, a Chinese billionaire close to Mr. Bannon, because on October 24, 2020 and October 28,

2020, Mr. Wengui and his assistant (Yvette Wang) disseminated certain files to his followers on

WhatsApp. (Dan Friedman, Exclusive: Leaked messages reveal the origins of the most vile Hunter

Biden smear, MOTHER JONES (Apr. 7, 2022)). It is not yet known what data Mr. Bannon shared

with Mr. Wengui or others, and it is likely that Mr. Wengui still possesses this unauthorized data.

       34.     On October 14, 2020, the New York Post published an article about the data Mac

Isaac had accessed and copied that he claimed belonged to Mr. Biden. On a phone call a few days

prior to publication, Mr. Costello told Mac Isaac that the New York Post had “agreed to keep [Mac

Isaac’s name] out of the story.” (J.P. MAC ISAAC, AMERICAN INJUSTICE 72 (e-book)). Mac Isaac

consented to this agreement.

       35.     Mr. Giuliani, working with former New York police chief Bernard Kerik, also

provided a copy of the data to Garrett Ziegler, a former Trump White House aide. In May 2022,

Mr. Ziegler uploaded the data he had in his possession, containing more than 120,000 emails,

photos, and other files that he claimed belonged to Mr. Biden, to his website Marco Polo USA,

where today anyone may access the data to support the claims they make against Mr. Biden and

the Biden family. (Josh Boswell, EXCLUSIVE: Former Trump aide posts online a searchable

database containing a huge trove of more than 120,000 emails from Hunter Biden’s abandoned

laptop, calling them ‘a modern day Rosetta Stone of white and blue collar crime’, DAILY MAIL

(May 17, 2022), https://www.dailymail.co.uk/news/article-10825801/Former-Trump-aide-posts-




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huge-trove-120-000-Hunter-Biden-emails-abandoned-laptop.html). Mr. Ziegler maintains this

website today.

       36.       Lastly, Jack Maxey (an associate of Mr. Bannon’s on Mr. Bannon’s War Room

podcast) created yet another copy of the data in December 2020 from a hard drive that Mr. Bannon

possessed. (Andrew Rice & Olivia Nuzzi, The Sordid Saga of Hunter Biden’s Laptop, N.Y. MAG.

(Sept. 12, 2022)). Mr. Maxey then sent copies of the data to Republican members of Congress,

and to the media (e.g., three copies to The Washington Post and one to the Daily Mail). (See

Samuel Chamberlain, Hunter Biden laptop material entered into Congressional Record, N.Y.

POST (Mar. 29, 2022), https://nypost.com/2022/03/29/gaetz-tries-to-get-hunter-biden-laptop-into-

congressional-record/; Matt Viser, A look at the time Tucker Carlson asked Hunter Biden for a

favor, WASH. POST (May 19, 2022), https://www.washingtonpost.com/politics/2022/05/19/look-

time-tucker-carlson-asked-hunter-biden-favor/). Mr. Maxey also allegedly showed some or all of

the data to Fox News anchor Tucker Carlson and gave a copy of the data to New York Magazine.

(Alex Thompson & Max Tani, The Holy War over Hunter Biden’s laptop, POLITICO (Jul. 13,

2022), https://www.politico.com/newsletters/west-wing-playbook/2022/07/13/the-holy-war-over-

hunter-bidens-laptop-00045698; Andrew Rice & Olivia Nuzzi, The Sordid Saga of Hunter Biden’s

Laptop, N.Y. MAG. (Sept. 12, 2022)). It is not yet known all of the people or entities to whom Mr.

Maxey sent the unauthorized data, and it is likely that they and Mr. Maxey still possess this

unauthorized data.

       37.       Mac Isaac was in Delaware when he took the actions described in this counterclaim

and then shared and caused to be transported this material across state lines and in interstate

commerce, all without the owner’s permission.




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        38.    Mr. Biden gave none of the individuals identified in this counterclaim permission

to access, copy, disseminate, post or otherwise distribute any of his data, however they came into

possession of it.

        39.    Mr. Biden had more than a reasonable expectation of privacy that any data that he

created or maintained, and especially that which was the most personal such as photographs,

videos, interactions with other adults, and communications with his family, would not be accessed,

copied, disseminated, or posted on the Internet for others to use against him or his family or for

the public to view.

                              Inconsistent Accounts by Mac Isaac

        40.    In failed attempts to justify his unlawful access of data that he alleges belonged to

Mr. Biden, Mac Isaac has contradicted himself on his ability to identify who, if anyone, brought

to the Mac Shop what he claims to be “Hunter Biden’s Laptop” to his shop.

        41.    For instance, in October 2020 (a month before the presidential election), Mac Isaac,

who Fox News has reported is vision-impaired, initially claimed that he could not positively

identify the customer who in April 2019 dropped off three devices at his repair shop. (See Emma-

Jo Morris et al., Smoking-gun email reveals how Hunter Biden introduced Ukrainian businessman

to VP dad, N.Y. POST (Oct. 14, 2020), https://nypost.com/2020/10/14/email-reveals-how-hunter-

biden-introduced-ukrainian-biz-man-to-dad/ (“The shop owner couldn’t positively identify the

customer as Hunter Biden, but said the laptop bore a sticker from the Beau Biden Foundation,

named after Hunter’s late brother and former Delaware attorney general.”)).

        42.    In fact, Mac Isaac stated that he “can’t be sure” it was Mr. Biden who dropped off

the computer for repairs. (Jacqui Heinrich, Hunter Biden email story: Computer repair store

owner    describes    handing    over   laptop    to   FBI,   FOX    NEWS     (Oct.    14,   2020),




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https://www.foxnews.com/politics/hunter-biden-emails-computer-repair-store-owner-john-paul-

mac-isaac). Similarly, Mac Isaac stated in a television interview that he “never had a clear look at

the person dropping off the laptop.” (Bo Erickson & Stefan Becket, What we know—and don’t

know—about      Hunter     Biden’s    alleged    laptop,    CBS     NEWS      (Oct.   16,    2020),

https://www.cbsnews.com/news/hunter-biden-laptop-new-york-post-story/).

       43.     However, a few months later in December 2020, after Mac Isaac was identified by

the media and his story was questioned, he switched his story and now proclaimed that he was

“100 percent sure” it was Mr. Biden who visited his shop in April 2019. (J. Mac Isaac, The Truth—

It was Him, YOUTUBE (Dec. 11, 2020), https://www.youtube.com/watch?v=THYjft9aH88).

       44.     Mac Isaac has made other statements undermining his credibility. For example, he

told right-wing media outlet Real America’s Voice that he was relieved when the FBI served him

with a subpoena for a computer and the data in December 2019: “I thought everything was great

when they took it [] because that was what I wanted the whole time was just to get this stuff out of

my shop, have the FBI – have a paper trail that afforded me some protection, both physically and

legally.” (Phillip Bump, Now warning about Hunter Biden-laptop disinfo: The guy who leaked it,

WASH. POST (Apr. 12, 2022), https://www.washingtonpost.com/politics/2022/04/12/now-

warning-about-hunter-biden-laptop-disinfo-guy-who-leaked-it/). 2 But Mac Isaac retained at least

one copy of the data for himself and, in August 2020, sent a copy of that data to Mr. Giuliani’s

lawyer, Mr. Costello. (Id.).




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  In a December 15, 2020 interview, Mac Isaac claimed, in reference to providing the data that he
claimed was Mr. Biden’s to the FBI in December 2019, “I just wanted it out of my shop,” even
though he had retained a copy of the data. J.P. Mac Isaac, The Truth – It was Him, YOUTUBE
(Dec. 11, 2020), https://www.youtube.com/watch?v=THYjft9aH88.


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                                           COUNT ONE

                                 Invasion of Privacy by Intrusion

        45.    Counterclaim Plaintiff hereby incorporates the allegations set forth in paragraphs 1

through 44 as if fully set forth herein.

       46.     Counterclaim Defendant Mac Isaac has intruded upon the seclusion of Mr. Biden

by accessing and wrongfully sharing Mr. Biden’s personal data.

       47.     As set forth above, no matter how they came into his initial possession, Mac Isaac

improperly accessed files that he admits were “none of [his] business” even though he was never

given permission by Mr. Biden to access or review any data of Mr. Biden’s.

        48.     Mac Isaac worked with Mr. Apelbaum and possibly others to create a forensic

image of the data that was in his possession, even though he was never given permission by Mr.

Biden to access or review any of his data and thus exposing what he claims to be Mr. Biden’s data

to another person.

        49.     Mac Isaac made additional unauthorized copies of the data he came to possess and

distributed them to his father, his uncle, and Mr. Costello, allowing them to access the data of Mr.

Biden that Mac Isaac somehow possessed, including private information that Mac Isaac knew

individuals would then distribute to others. Mac Isaac did this even though he was never given

permission by Mr. Biden to copy or review any of Mr. Biden’s data.

        50.     Mac Isaac’s knowing and intentional distribution of Mr. Biden’s personal and

sensitive data was not carried out for any reasonable or legitimate purposes, but rather to try and

expose Mr. Biden’s data to those that he knew or should have known would intend to create

embarrassment and harm for Mr. Biden. In addition, Mac Isaac decided to use the data in his

possession for commercial purposes and to make money, which he has done by including portions




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of the data in his book and making reference to and/or making some or all of the data available at

appearances he has made.

       51.      The unauthorized accessing and dissemination of Mr. Biden’s data is offensive and

objectionable to Mr. Biden, and would be highly offensive and objectionable to any reasonable

person as they would not expect a computer repairman to copy and disseminate the private and

confidential contents of someone’s data.

       52.      Mac Isaac knew or should have known that the data he possessed and shared

contained private and confidential information and content, including sensitive and private

photographs and video of Mr. Biden, and that Mr. Biden had a reasonable expectation of privacy

in this data, and that Mac Isaac’s conduct would expose Mr. Biden’s personal life in an egregious

violation of Mr. Biden’s right to privacy.

       53.      Mac Isaac has continued his invasion of Mr. Biden’s right to privacy by publishing

a book and making media appearances, which discuss or include data about Mr. Biden obtained

by Mac Isaac.

       54.      Counterclaim Plaintiff’s right to be free from invasion of privacy by intrusion has

been denied under the common law of the State of Delaware.

       55.      Mac Isaac’s actions as described in Count One violated Delaware common law and

caused Mr. Biden to suffer considerable damages.

                                           COUNT TWO

                  Invasion of Privacy by Publication of Private Facts/Matters

        56.     Counterclaim Plaintiff hereby incorporates the allegations set forth in paragraphs 1

through 55 as if fully set forth herein.




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       57.     Counterclaim Defendant Mac Isaac disclosed and disseminated Mr. Biden’s private

and confidential data, which Mac Isaac came to possess, to various third parties and then wrote a

book and made media appearances in which he described and discussed the data.

       58.     By disseminating Mr. Biden’s personal and sensitive information, which Mac Isaac

came to possess, to others, Mac Isaac knew or should have known that this data would be made

available to the public at large to embarrass and harm Mr. Biden.

       59.     Mac Isaac knowingly and willfully shared with others the personal data of Mr.

Biden that he came to possess (regardless of how he came to possess the data), despite it being

reckless and unreasonable for any computer repairman to make copies of another’s personal and

sensitive information and to then send that data to third parties without the authority to do so.

       60.     Due to the foregoing acts, Mac Isaac gave publicity to matters concerning the

private life of Mr. Biden and private and sensitive depictions of him.

       61.     The unauthorized and wrongful publication by Mac Isaac of what he came to

possess about Mr. Biden’s private and confidential data is highly offensive and would be offensive

to any reasonable person of ordinary sensibilities and not of legitimate concern to the public.

       62.     Mac Isaac violated Mr. Biden’s right to privacy by publicizing his private data,

including sensitive information, as a calculated move to financially capitalize on the publication.

       63.     Mac Isaac continues to violate Mr. Biden’s right to privacy by continuing to

publicly discuss Mr. Biden’s data even though it is of no recognized legitimate concern to the

public other than that which Mac Isaac created himself for his own benefit.

       64.     Counterclaim Plaintiff’s right to be free from invasion of privacy by publication of

private facts/matters has been denied under the common law of the State of Delaware.




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        65.     Mac Isaac’s actions as described in Count Two violated Delaware common law and

caused Mr. Biden to suffer considerable damages.

                                           COUNT THREE

                           Conspiracy to Invade Privacy by Intrusion

        66.     Counterclaim Plaintiff hereby incorporates the allegations set forth in paragraphs 1

through 65 as if fully set forth herein.

        67.     Counterclaim Defendant Mac Isaac worked with and made an agreement with Mr.

Apelbaum and possibly others to create a forensic image or copy of the data Mac Isaac came to

possess without the owner’s consent, thus exposing Mr. Biden’s personal data to at least one other

person in the process. Mac Isaac then knowingly and improperly provided Mr. Biden’s data that

Mac Isaac came to possess to his father, his uncle, and Mr. Costello (knowing Mr. Costello was

Mr. Giuliani’s attorney, who was close to then-President Trump), who then shared that data with

other third parties.

        68.     Mac Isaac caused at least six other people to have access to Mr. Biden’s personal

and sensitive data that Mac Isaac came to possess without authorization, which would be highly

offensive to a reasonable person.

        69.     The object of invading Mr. Biden’s privacy and disseminating his data was not for

any legitimate purpose but to cause harm and embarrassment to Mr. Biden. Mac Isaac knew that

his father and Mr. Costello, based on agreement and discussions with them both, would attempt to

further disseminate Mr. Biden’s data to cause pain and embarrassment.

        70.     Mac Isaac shared the data he obtained with various others, with whom he agreed

that they would use and further disseminate the data to still other third parties. Any agreement

was without Mr. Biden’s knowledge or permission.




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        71.      As a result of Mac Isaac’s unlawful agreement and his conspiracy with others, Mr.

Biden’s personal data was made available to third parties and then ultimately to the public at large,

which is highly offensive, causing harm to Mr. Biden and his reputation.

        72.      Counterclaim Plaintiff’s right to be free from civil conspiracy has been denied

under the common law of the State of Delaware.

        73.      Mac Isaac, in confederation and combination with others, agreed to and committed

unlawful acts in furtherance of such conspiracy as described in Count Three in violation of

Delaware common law and caused Mr. Biden to suffer considerable damages.

                                           COUNT FOUR

              Conspiracy to Invade Privacy by Publication of Private Facts/Matters

        74.      Counterclaim Plaintiff hereby incorporates the allegations set forth in paragraphs 1

through 73 as if fully set forth herein.

       75.       Counterclaim Defendant Mac Isaac disseminated copies of Mr. Biden’s sensitive

and personal data that Mac Isaac came to possess to his father, his uncle, and Mr. Costello, whom

he knew or should have known was counsel for Mr. Giuliani, who frequently speaks negatively in

public about Mr. Biden and his family.

       76.       The purpose of providing Mr. Costello and others with a copy of Mr. Biden’s

personal and sensitive information was not for any legitimate purpose, but to cause harm and

embarrassment to Mr. Biden by publishing his information. Mac Isaac and Mr. Costello agreed

that Mac Isaac would provide Mr. Costello with the data for Mr. Costello to review and then to

provide to Mr. Giuliani, so that the data would be in the “hands of the president’s lawyer.”

       77.       Mac Isaac and his uncle agreed that his uncle would also try to further disseminate

the contents of the data in their possession with the purpose of publicizing the data.




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        78.    Mr. Costello met with an employee of the New York Post after immediately

reviewing the data that Mac Isaac sent him, to convince the New York Post to publicize what he

said was Mr. Biden’s private data.

        79.     Mac Isaac’s conspiracy to invade Mr. Biden’s privacy by publicizing Mr. Biden’s

private information that Mac Isaac came to possess is highly offensive and would be to any

reasonable person.

        80.     Counterclaim Plaintiff’s right to be free from civil conspiracy has been denied

under the common law of the State of Delaware.

        81.     Mac Isaac, in combination with others, worked and agreed to commit unlawful acts

in furtherance of such conspiracy as described in Count Four in violation of Delaware common

law and caused Mr. Biden to suffer considerable damages.

                                           COUNT FIVE

                     Aiding and Abetting an Invasion of Privacy by Intrusion

        82.    Counterclaim Plaintiff hereby incorporates the allegations set forth in paragraphs 1

through 81 as if fully set forth herein.

       83.     Counterclaim Defendant Mac Isaac aided and abetted others in the invasion of Mr.

Biden’s privacy by intrusion upon the seclusion of Mr. Biden.

       84.     Mac Isaac allowed Mr. Apelbaum access to the personal data of Mr. Biden that

Mac Isaac came to possess and then with Mr. Apelbaum made a forensic copy of the data, and

subsequently Mac Isaac provided copies of Mr. Biden’s data to at least three other people,

including his father, his uncle, and Mr. Costello (who in turn caused the data to be accessed by

Mr. Giuliani, and others to whom Mr. Giuliani disseminated it).




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        85.    By disseminating Mr. Biden’s private and sensitive data to others that he came to

possess, Mac Isaac aided and abetted their violations of Mr. Biden’s right to privacy.

        86.    Mac Isaac knew that the people with whom he was sharing Mr. Biden’s private and

sensitive data would then also access and review the data, further invading Mr. Biden’s privacy.

        87.    Others were able to violate Mr. Biden’s right to privacy only by accessing,

reviewing, and publishing Mr. Biden’s sensitive and personal data that Mac Isaac came to possess

because Mac Isaac provided copies of Mr. Biden’s data to third parties, including Mr. Costello,

who caused Mr. Biden’s data to be published.

        88.    Counterclaim Plaintiff’s right to be free from aiding and abetting has been denied

under the common law of the State of Delaware.

        89.    Mac Isaac’s actions as described in Count Five violated Delaware common law and

caused Mr. Biden to suffer considerable damages.

                                           COUNT SIX

    Aiding and Abetting an Invasion of Privacy by Publication of Private Facts/Matters

        90.    Counterclaim Plaintiff hereby incorporates the allegations set forth in paragraphs 1

through 89 as if fully set forth herein.

       91.     Counterclaim Defendant Mac Isaac aided and abetted others in the invasion of Mr.

Biden’s privacy by publication of private facts or matters of Mr. Biden.

        92.    Mac Isaac disseminated copies of Mr. Biden’s personal and sensitive data that he

came to possess to third parties, including Mr. Costello.

       93.     Mr. Costello accessed the data he was sent, reviewed it, and then met with an

employee of the New York Post to grant them access to review the data in an effort to convince the

New York Post to publish a story including Mr. Biden’s personal and sensitive data.




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       94.      Mr. Costello was only able to violate Mr. Biden’s right to privacy by causing his

private and sensitive data to be published because Mac Isaac provided Mr. Costello a copy of the

data that Mac Isaac came to possess.

       95.      Mac Isaac knew, or should have known, that Mr. Costello would attempt to publish

the contents of the data as Mac Isaac repeatedly tried to get the data he possessed into the hands

of others and made public.

       96.      Counterclaim Plaintiff’s right to be free from aiding and abetting has been denied

under the common law of the State of Delaware.

       97.      Mac Isaac’s actions as described in Count Six violated Delaware common law and

caused Mr. Biden to suffer considerable damages.

       Demand for Jury Trial: Mr. Biden also seeks a trial by jury.

       WHEREFORE Counterclaim Plaintiff Robert Hunter Biden prays this Court enter

judgment as follows:

       A. Enter judgment in Counterclaim Plaintiff’s favor against Counterclaim Defendant John

             Paul Mac Isaac on all Counts alleged in the Complaint and the Counterclaim;

       B. For compensatory damages to be proven at trial;

       C. For injunctive relief to require Counterclaim Defendant to return any copy and partial

             copy, whether written or electronic, of any data that he claims belongs to Counterclaim

             Plaintiff and to communicate with all those individuals to whom he provided copies (in

             whole or in part) to return said data to Counterclaim Plaintiff;

       D. For punitive damages for Counterclaim Defendant’s willful, wanton, and reckless

             conduct in an amount to be determined at trial; and




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      E. Plus attorney’s fees incurred as a result of this action, interests and costs and any other

          relief the Court deems just.


Dated: March 17, 2023                                Respectfully submitted,

                                                     /s/ Bartholomew J. Dalton
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